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The following constitutes the ruling of the court and has the force and effect therein described.




Signed June 9, 2025
______________________________________________________________________




                             THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISON

      In re:
                                                        Chapter 11
      HIGHLAND CAPITAL
      MANAGEMENT, L.P.,                                 Case No. 19-34054-sgj11

                     Reorganized Debtor.

                                  ORDER STAYING PROCEEDING

               The Court, having considered the Consent Motion for Stay (the “Stay Motion”) filed

     by Hunter Mountain Investment Trust (“HMIT”), and noting that it is unopposed, is of

     the opinion that the Stay Motion is well taken and should be GRANTED in its entirety:




                                                    1
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      IT IS THEREFORE ORDERED that the proceedings defined in the Stay Motion

as: “Hunter Mountain Investment Trust v. Highland Cap. Mgmt., L.P., Case No. 3:23-cv-

02071-E (N.D. Tex.), on remand to the Bankruptcy Court (including Hunter Mountain

Investment Trust’s Emergency Motion for Leave to File Adversary Proceeding filed at

Bankruptcy Court Docket No. 3699 and all proceedings, decisions, and orders relating

thereto),” are hereby stayed pending further order of this Court.




                               ### END OF ORDER ###




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